                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           No. 3:10-00258
                                               )           JUDGE CAMPBELL
MIGUEL PADILLA                                 )


                                           ORDER

      The pretrial conference, currently set for September 9, 2013, at 2:30 p.m., is

RESCHEDULED for September 6, 2013, at 2:30 p.m. All other deadlines remain unchanged.

      It is so ORDERED.




                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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